          Case 1:15-cv-00883-RJA-LGF Document 15 Filed 05/18/16 Page 1 of 1




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

ABIGAIL CZENSZAK,


                                             Plaintiff,

           v.                                                       Civil No. 15-CV-00883-RJA-LGF

BRAENDEL PAINTING AND SERVICES, INC.,


                                             Defendants.


                                   STIPULATION OF VOLUNTARY
                                    DISMISSAL WITH PREJUDICE
                      Pursuant to Rule 41(a)(1)(ii) of the Federal Rules of Civil Procedure, the Parties,

by their counsel, stipulate that all claims, causes of action, and counterclaims, including, but not

limited to, any claims arising under state or local law, be dismissed on the merits with prejudice

and without costs, disbursements or attorneys’ fees to any party.



Dated: May 3, 2016                                        Dated: May 17, 2016


THE TARANTINO LAW FIRM LLP                                 HODGSON RUSS LLP
Attorneys for Plaintiff                                    Attorneys for Defendants


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